 Case: 4:14-cv-02019-CEJ Doc. #: 50 Filed: 03/26/15 Page: 1 of 1 PageID #: 547


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


ALEXIS TEMPLETON, et al.,                   )
                                            )
                 Plaintiffs,                )
                                            )
           vs.                              )     Case No. 4:14-CV-2019 (CEJ)
                                            )
SAM DOTSON, CHIEF OF POLICE,                )
CITY OF ST. LOUIS, et al.,                  )
                                            )
                 Defendants.                )

                                         ORDER

      Because the parties have entered into a settlement agreement [Doc. #49-1],

      IT IS HEREBY ORDERED that parties’ joint motion to dismiss [Doc. #49] is

granted.

      IT IS FURTHER ORDERED that the Clerk of Court shall make an entry in the

docket record reflecting the dismissal of this action with prejudice.   See Fed. R. Civ.

P. 41(a)(1)(A)(ii).     The Court will retain jurisdiction for the sole purpose of

determining whether the settlement should be enforced upon motion of any party.




                                            CAROL E. JACKSON
                                            UNITED STATES DISTRICT JUDGE



Dated this 26th day of March, 2015.
